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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

   GUARDANT HEALTH, INC.,                     )
                                              )
                      Plaintiff,              ) C.A. No. 17-1616-LPS-CJB
                                              )
            v.                                ) REDACTED ­ PUBLIC VERSION
                                              )
   FOUNDATION MEDICINE, INC.,                 )
                                              )
                      Defendant.              )
                                              )

          FOUNDATION MEDICINE, INC.’S OPENING BRIEF IN SUPPORT OF
        ITS MOTION FOR SANCTIONS BASED ON SPOLIATION OF EVIDENCE


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          Foundation Medicine, Inc. (“FMI”) submits this brief in support of its Motion for Sanctions

   Based on Spoliation of Evidence by Plaintiff, Guardant Health, Inc. (“Guardant”).

   I.     NATURE & STAGE OF PROCEEDINGS AND SUMMARY OF ARGUMENT

          Guardant’s co-founder and CEO, Dr. Helmy Eltoukhy, intentionally and selectively

   deleted critical evidence after his April 2019 deposition made it clear that such evidence was

   relevant to – and supportive of – FMI’s inequitable conduct and inventorship defenses. Dr.

   Eltoukhy admits he fully understood that he was legally obligated to preserve such evidence, and

   he destroyed it anyway. This egregious misconduct was uncovered only after (a) Guardant

   produced numerous “bodiless” emails without relevant content, i.e., emails that were missing all

   text other than the date/to/from/cc/subject line, and (b) Guardant admitted that obtaining the

   original emails directly from Eltoukhy’s email account was a lost cause.1 Guardant’s counsel

   learned of Dr. Eltoukhy’s misconduct by no later than July 8, 2019, but concealed it from FMI

   until November 3, 2019. Had Guardant disclosed these facts earlier, it is possible that additional

   measures could have been taken to recover the emails. Moreover, a second purge of documents

   occurred days before Eltoukhy’s laptop was imaged for forensic examination by FMI. In a

   December 10, 2019 Order granting FMI, among other things, a supplemental deposition of Dr.

   Eltoukhy to explore the deletion of evidence, Judge Burke stated:

          It is clear that Dr. Eltoukhy’s deletion of these emails (some of which relate to, inter
          alia, Defendant[’]s inequitable conduct counterclaims), came after Dr. Eltoukhy
          was asked about the emails at a deposition; moreover, the deletion efforts were not
          the result of attorney advice or consultation and were in contravention of document
          preservation instructions that had been provided in these cases.

   D.I. 289.2


   1
      Personal Genome Diagnostics, Inc. (“PGDx”) – the defendant in a related case that recently
   settled with Guardant – and its counsel participated in most of the communications and events
   described herein. For simplicity, this motion refers only to FMI and/or its counsel.
   2
     Unless otherwise noted, all docket citations are to C.A. No. 17-1616-LPS-CJB.
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           Guardant did not make Dr. Eltoukhy available for his court-ordered second deposition

   until last Friday, September 18, 2020, despite FMI’s repeated requests (see D.I. 393; D.I. 394; D.I.

   465; Exs. 40-45), before which time FMI could not file this motion. FMI also completed a forensic

   examination of Dr. Eltoukhy’s laptop and an archive file that contained the bodiless emails, the

   results of which are described herein and in the Declaration of Sergio D. Kopelev (“Kopelev

   Decl.”) filed herewith. Notwithstanding substantial efforts to recover the deleted evidence, there

   remain nearly 300 bodiless emails from a key time period, the content of which has been lost

   forever. It is also unclear what additional relevant evidence was destroyed and, therefore, is

   unavailable to FMI. Based on the undue prejudice caused by Guardant’s willful and bad faith

   conduct, FMI requests that the Court enter judgment that Guardant’s patents are unenforceable

   and invalid for improper inventorship and award monetary sanctions. In the alternative, FMI

   requests that the Court grant FMI an adverse inference instruction as to the deleted evidence,

   monetary sanctions, access to Guardant’s privileged communications regarding spoliation, and the

   ability to offer expert testimony at trial.

   II.     STATEMENT OF FACTS

           A.      FMI’s Inequitable Conduct Counterclaim and Inventorship Defenses
                   Concern Drs. Eltoukhy and Talasaz’s Actions in 2012 and 2013

           FMI’s inequitable conduct and inventorship defenses assert that Dr. Eltoukhy, while still

   employed at Illumina, Inc. (“Illumina”), substantially contributed to the conception of the alleged

   inventions of the asserted patents, aided in part by confidential documents he misappropriated from

   Illumina. D.I. 168, Counterclaims ¶¶ 20-75. Discovery revealed that Guardant intentionally

   omitted naming Dr. Eltoukhy as an inventor of its patents to avoid any ownership claim by Illumina

   based on his contractual obligation to assign inventions to Illumina. Id., ¶¶ 58, 69-73. Guardant

   has admitted to having over 51,000 Illumina documents in its possession that Dr. Eltoukhy took



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   from Illumina before he resigned from the company in January 2013. Ex. 33, 28:23-25. Many of

   these Illumina documents were marked confidential and had been sent from Dr. Eltoukhy’s

   Illumina email address, through his personal Gmail account, to Guardant’s co-founder, president,

   and the named inventor on the asserted patents, Dr. AmirAli Talasaz, in 2012 while Eltoukhy was

   still an Illumina employee. Illumina has confirmed “that neither Guardant Health nor Dr. Eltoukhy

   should have been in possession of those confidential Illumina documents.” D.I. 184, at 1. In

   denying Guardant’s motion for summary judgment on FMI’s inequitable conduct allegations,

   Judge Burke concluded that the facts were “easily sufficient” to create a triable issue. D.I. 419, at

   11.

          B.      Drs. Eltoukhy and Talasaz’s Sworn Testimony Is Contradicted By
                  Documents From The Key Time Period

          Dr. Eltoukhy testified in his first deposition that he was merely an “advisor” and an

   “investor” in Guardant with “no official capacity.” Ex. 27, 197:3-198:22. However, emails from

   2011-2012 show that Dr. Eltoukhy contributed significantly to Guardant’s technology and

   inventions. One of the critical events took place in June 2012, when Dr. Eltoukhy was still an

   Illumina employee and Dr. Talasaz had just left Illumina for Guardant. D.I. 168, Counterclaims

   ¶¶ 31-35. Dr. Eltoukhy used his Illumina email account to ask an Illumina director, Dr. Frank

   Steemers, to send Dr. Eltoukhy an improved sequencing error correction presentation. Id., ¶ 31.

   Dr. Steemers then provided several confidential Illumina slides disclosing material elements of

   Guardant’s asserted claims. Id., ¶ 32-33. Two minutes later, Dr. Eltoukhy forwarded the email to

   his personal Gmail account, which he used to conduct Guardant business while working for

   Illumina. Id., ¶ 35. This was done shortly before the alleged July 2012 conception date identified

   by Guardant. Id., ¶ 36.

          Guardant initially maintained that Dr. Eltoukhy never shared the “Steemers emails” with



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   Dr. Talasaz. See Ex. 32, at 15; Ex. 34, ¶ 429. During his first deposition in April 2019, Dr.

   Eltoukhy was questioned about the Steemers emails and other confidential Illumina documents in

   Guardant’s possession, which evidenced his contributions to Guardant in its early stages. Dr.

   Eltoukhy testified that he did not recall sharing the Steemers emails with “anyone outside of

   Illumina” or forwarding them “to anyone at any time.” Ex. 27, 310:20-311:7. Dr. Eltoukhy

   suggested that he had forwarded the emails to his Gmail account to review while “traveling.” Id.

   at 318:3-20. Dr. Talasaz testified that he had never seen the Steemers emails. Ex. 29, 182:6-183:4;

   Ex. 30, 576:10-578:2.

          C.      Between July and November 2019, Guardant Concealed the Spoliation

          After the April 2019 deposition, FMI served discovery requests targeting Dr. Eltoukhy’s

   Gmail account and communications between Drs. Eltoukhy and Talasaz from the key time period

   before the patents’ alleged July 2012 conception date, and before Dr. Eltoukhy’s departure from

   Illumina in January 2013. Ex. 28, at 9-12. Guardant refused to produce any documents, requiring

   a motion to compel. See D.I. 178. By no later than July 8, 2019, Guardant’s counsel became

   aware of the document destruction. Ex. 35, at 8-9. On August 7, 2019, Judge Burke granted the

   motion to compel, ordering the parties to agree on search terms for a subset of approximately 5,000

   pre-2013 emails that Guardant had collected but not yet produced. D.I. 191. At that time, Guardant

   did not disclose to the Court or FMI that it had already discovered, on July 8, 2019, that Dr.

   Eltoukhy had intentionally “deleted older files containing messages and [all] messages from his

   personal gmail account prior to 2014 from both the Google servers and his laptop” after his

   deposition. Ex. 35, at 8-9.

          Throughout August and September 2019, the parties conferred about appropriate search

   terms and discovery of Dr. Eltoukhy’s Gmail account, and FMI expressed concern about

   Guardant’s preservation and collection of emails from Dr. Eltoukhy’s Gmail account. See, e.g.,


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   Ex. 35, at 18-19, 25, 30, 42-43, 50, 65. Although Guardant knew by then that Dr. Eltoukhy had

   deleted all of his pre-2014 emails, Guardant called FMI’s concerns “unwarranted fears” and

   became increasingly combative. See id. at 20, 30 (“[FMI’s questions] seem more like irascible

   demands than questions”); id. at 18 (calling FMI’s concerns “snide innuendo” making “it tough to

   want to cooperate”). The reason for Guardant’s behavior became clear when it finally produced

   some of the requested documents.

            In response to the Court’s Order, Guardant finally produced several “smoking gun” emails

   from Dr. Eltoukhy’s personal Gmail account which contradicted his and Dr. Talasaz’s prior sworn

   testimony. See, e.g., Exs. 14, 16. Contrary to Guardant’s prior denials, the evidence previously

   withheld by Guardant showed that Dr. Eltoukhy was deeply involved in the day-to-day activities

   of Guardant prior to his departure from Illumina, including its technology development. See, e.g.,

   Ex. 26
                        3
                            Importantly, the evidence further contradicted Dr. Eltoukhy’s testimony that

   he didn’t send the Steemers emails to anyone; instead, showing that he sent the Steemers emails

   from his Gmail account to Talasaz’s Gmail account on the same day that he requested and received

   them, and again the next day, having requested additional slides from Dr. Steemers.4 Compare

   Ex. 14, with Ex. 15; compare Ex. 16, with Ex. 17.5 Guardant’s production also included several

   hundred bodiless emails that Guardant only later revealed came from an




   3
     The evidence also showed that Michael Wiley, Drs. Eltoukhy and Talasaz’s co-founder, helped
   them conceal their activities from Illumina by warning them to stay “away” from the Guardant
   premises when an Illumina representative was scheduled to visit. Ex. 19.
   4
      Guardant also asserted that Dr. Talasaz no longer has a copy of the emails, but still has not
   explained when, how or why Dr. Talasaz’s emails were deleted. Ex. 35, at 1, 3-6.
   5
     Only after Dr. Eltoukhy was confronted with the documents at his supplemental deposition, did
   he finally admit that he did in fact forward these slides to Dr. Talasaz. See Ex. 38, 954:7-959:12;
   Exs. 12, 17.

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                See Exs. 14, 16; see also Ex. 35, at 16-18; D.I. 280, at 2.

          D.      Guardant Finally Admits to Deletion of Evidence

          Following Guardant’s initial production of certain critical, contradictory evidence from Dr.

   Eltoukhy’s Gmail account, FMI immediately asked Guardant to produce emails directly from the

   founders’ personal Google accounts. Ex. 35, at 18-19, 20-21. On November 3, 2019, after many

   additional communications and repeated evasive responses and attempts by Guardant to deflect

   FMI’s inquiries, Guardant finally admitted that it could not produce the emails because Dr.

   Eltoukhy had taken the extraordinary step of deleting every single pre-2014 email from his

   personal Gmail account on both his computer and Google’s server after his April 2019 deposition.

   Id. at 9. Incredibly, Dr. Eltoukhy did so after he was confronted with the Steemers emails and

   other documents at his deposition, after admitting that he understood the critical nature of those

   emails and other Illumina documents from the key pre-2013 time period, and at a time when he

   admits that he knew he was under an obligation to preserve documents. Id.; see also Ex. 38,

   781:17-783:17. Guardant’s claim that Dr. Eltoukhy deleted his emails “[w]ith the understanding

   that these files and messages had previously been collected and preserved as part of this litigation”

   is contradicted by Dr. Eltoukhy’s admission at his initial deposition in April 2019 that he did not

   know whether his emails had been searched. Ex. 27, 319:11-16. Moreover, as Judge Burke

   explained and as Dr. Eltoukhy himself has now confirmed, Dr. Eltoukhy never confirmed with

   counsel whether his Gmails had been collected before he destroyed them. Ex. 38, 795:18-796:3,

   781:17-783:17; Ex. 35, at 5; D.I. 289. Finally, Dr. Eltoukhy has now testified that he destroyed

   the evidence because he did not want to possess the “sensitive information” that he was confronted

   with at his first deposition, further demonstrating that he knew the evidence was both highly

   relevant and harmful to Guardant’s case. Ex. 38, 789:13-790:3; see also D.I. 286, at 2.




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   v. Sea Esta Motel I, 2014 WL 4247731 at *1 (D. Del. Aug. 26, 2014). Parties who breach the duty

   to preserve by destroying evidence may be sanctioned by the Court. Id.

   IV.    ARGUMENT

          A.      Guardant Should Be Sanctioned For Its Spoliation of Relevant Discovery

          Dr. Eltoukhy admittedly deleted all of his pre-2014 emails from both his computer and

   personal Gmail account after a litigation hold had been put in place, at a time when he knew he

   had to preserve his documents, and after deposition questioning which revealed to him that emails

   from this time period were incriminating evidence of misappropriation from Illumina and fraud on

   the Patent Office. Because Guardant’s CEO was successful in destroying evidence, it is impossible

   to know the full extent of the loss of relevant evidence caused by Dr. Eltoukhy’s conduct.

   However, the limited evidence that Guardant has been able to produce from this time period,

   including the subject lines of several of the remaining nearly 300 bodiless emails, indicate that the

   deleted documents are likely highly relevant to FMI’s inequitable conduct and inventorship

   defenses.

          Because spoliation has occurred, the analysis “turns to the determination of the appropriate

   sanction using the Schmid factors.” Wagner, 2014 WL 4247731 at *1 (discussing Schmid v.

   Milwaukee Elec. Tool Corp., 13 F.3d 76, 79 (3d Cir. 1994)). Under Schmid, the three factors the

   Court considers in determining whether to impose a sanction for spoliation are: “(1) the degree of

   fault of the party who altered or destroyed the evidence; (2) the degree of prejudice suffered by the

   opposing party; and (3) whether there is a lesser sanction that will avoid substantial unfairness to

   the opposing party and, where the offending party is seriously at fault, will serve to deter such

   conduct by others in the future.” Schmid, 13 F.3d at 79; see Wagner, 2014 WL 4247731 at *1;

   GN Netcom, 930 F.3d at 82. As discussed below, each factor supports FMI’s requested sanction.




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                  1.      Guardant Destroyed Documents in Bad Faith

          “The first Schmid factor is the degree of fault of the spoliating party.” Micron Tech., Inc.

   v. Rambus, Inc., 917 F. Supp. 2d 300, 323 (D. Del. 2013). Guardant’s “destruction of discoverable

   documents for the purpose of gaining an advantage in litigation reveals a high degree of fault.” Id.

   (finding bad faith document destruction in a patent case, dismissing the case, and holding the

   patents unenforceable). The evidence shows that Guardant did so in bad faith, which “is pivotal

   to a spoliation determination.” GN Netcom, Inc. v. Plantronics, Inc., 2016 WL 3792833 at *5 (D.

   Del. July 12, 2016) (quoting Bull v. United Parcel Serv., Inc., 665 F.3d 68, 79 (3d Cir. 2012)).

   Guardant’s “bad faith intent speaks to [its] degree of fault.” GE Harris Railway Elecs. LLC v.

   Westinghouse Air Brake Co., 2004 WL 5702740 at *11 (D. Del. Mar. 29, 2004). “To make a

   determination of bad faith, the court must find that the spoliating party intended to impair the

   ability of the potential defendant to defend itself.” Greatbatch Ltd v. AVX Corp., 179 F. Supp. 3d

   370, 380 (2016) (internal quotations and citation omitted). Such facts are present here.

          There are multiple grounds for finding bad faith. First, Dr. Eltoukhy admits that he was

   aware of his obligation to preserve documents, yet he intentionally destroyed all of his pre-2014

   emails without consulting anyone about such conduct. Supra pp. 1, 5-6. He also understood that

   the emails he deleted were from a key time period in the case – during his employment at Illumina

   – and that the broad swath of emails he deleted included incriminating information that would both

   contradict Guardant’s deposition testimony and support FMI’s theories in the case. Id. Indeed,

   Dr. Eltoukhy testified that he intentionally deleted evidence because he did not want to be in

   possession of the “sensitive information” he was asked about at his first deposition. Supra p. 6.

   Such facts are similar to Positran Mfg., Inc. v. Diebold, Inc., where the court found that the

   evidence showed an “extreme degree of fault” where a witness destroyed evidence, “not before

   litigation ensued, but rather, months after” the complaint was filed and document requests were


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   served.” 2003 WL 21104954 at *3 (D. Del. May 15, 2003). Similarly, in GE Harris Railway

   Elecs., an executive understood his preservation obligations, but nonetheless deleted his computer

   files when he became aware they might be relevant. 2004 WL 5702740 at *4. The court noted

   that the executive “did not consult with anyone when he destroyed documents” and found a high

   “degree of fault” that weighed “heavily in favor of imposing a serious sanction.” Id. Here, the

   spoliation was deliberate and conducted by Guardant’s apex executive.

          “On these facts, [Guardant] cannot credibly claim that [Dr. Eltoukhy] was unaware of his

   obligations.” Positran Mfg., 2003 WL 21104954 at *3. The timing and scope of Dr. Eltoukhy’s

   deletion strongly supports a conclusion of bad faith. See GN Netcom, 2016 WL 3792833 at *7

   (deletion “one month after [the] lawsuit was filed” “strongly suggests an intent to deprive GN of

   discovery.”). Dr. Eltoukhy selectively deleted all of his pre-2014 his emails (a) when he knew of

   his obligation to preserve evidence, (b) years into the litigation, after FMI served document

   requests, and (c) after his deposition, at which detailed deposition questioning about documents

   from this time period confirmed the relevance of such documents, and he testified that he did not

   know if his Gmails had been collected. Supra pp. 1, 4-6. All of these facts support the conclusion

   that Dr. Eltoukhy attempted to “destroy all the unfavorable documents and/or retain all the

   favorable documents” for the litigation. See Micron Tech., 917 F. Supp. 2d at 317 (finding

   spoliation was carried out in bad faith).

          Second, to ensure that none of his deleted emails could be recovered, Dr. Eltoukhy “double

   deleted emails” by moving relevant emails to the trash, emptying the trash, and by deleting emails

   from both his Laptop and from the Google server. This “support[s] the Court’s conclusion that

   [the] deletion of his own emails was undertaken to deprive” FMI of discovery. GN Netcom, 2016

   WL 3792833 at *7 (inferring bad faith from double deletion).




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          Third, Dr. Eltoukhy has repeatedly given false testimony about his extensive involvement

   at Guardant prior to departing Illumina. Ex. 27, 197:3-198:6 (testifying he was merely an

   “advisor” and an “investor” in Guardant with “no official capacity”); Ex. 31, at 2 (stating in a

   sworn declaration that “my relationship as a member of the Board of Directors, an advisor and one

   of the largest investors was that of a corporate agent and fiduciary of Guardant.”); see also

   Guardant Health, Inc. v. Personal Genome Diagnostics, Inc., C.A. No. 17-1623-LPS-CJB, D.I.

   261 (granting additional discovery regarding Dr. Eltoukhy’s involvement with Guardant in 2012

   because of the contradictory statements made in his deposition and subsequent declaration). A

   court may infer bad faith from false testimony, where the false testimony shows an intent to hide

   impropriety regarding document retention. See Micron Tech., 917 F. Supp. 2d at 318 (bad faith

   supported by witnesses’ “false testimony on several subjects” related to the retention of

   documents); Positran Mfg., 2003 WL 21104954 at *3 (bad faith supported by witness’s

   contradictory testimony regarding the destruction of his handwritten notes). Dr. Eltoukhy’s

   deletion of evidence was an attempt to prevent FMI and this Court from discovering the existence

   and extent of his false testimony.

          Fourth, Dr. Eltoukhy attempted to conceal his conduct from his own attorneys. See Micron

   Tech., 917 F. Supp. 2d at 318 (bad faith shown by failure to “inform outside counsel” of the

   destruction of documents “or the scope of document destruction”).           He admitted at the

   supplemental deposition that he made no effort to confer with counsel before deleting all of his

   pre-2014 Gmails. Ex. 38, 795:18-796:3. He claims the deletions occurred between two and four

   weeks after his April 2019 deposition (see id., 792:19-793:12), two months before his attorneys

   attempted to collect his Gmails on July 8, 2019. Id., 792:22-793:4.




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          Fifth, even upon learning that the documents were missing, Guardant’s counsel failed to

   immediately inform FMI of this misconduct, and instead spent months misleading and trying to

   deter FMI from pressing the issue, even calling FMI’s preservation concerns “unwarranted fears.”

   See Ex. 35, at 18, 20, 30. Guardant’s actions significantly delayed and inhibited FMI’s ability to

   recover the emails from Google and/or through its expert’s examination of Dr. Eltoukhy’s Laptop.

   See GN Netcom, 2016 WL 3792833, at *8 (bad faith shown by outside counsel’s failure to be

   candid with opposing party’s counsel regarding facts of spoliation). Indeed, as in GN Netcom,

   Guardant repeatedly engaged in “obfuscation and misrepresentations related to [Dr. Eltoukhy’s]

   email deletion and its investigation of it,” which further supports that Guardant acted “in bad faith,

   intending to impair the ability of the other side to effectively litigate its case.” Id. at *8 (internal

   quotations and citations omitted). Additionally, Guardant’s counsel refused to answer all of FMI’s

   questions about the deletions and instead repeatedly told FMI that it would have to ask Dr.

   Eltoukhy himself. Ex. 36, 27:16-19, 29:6-12. Yet, Guardant repeatedly delayed that deposition,

   even after the parties agreed it would proceed remotely, resulting in the necessity for a stipulation

   setting a firm deposition date. D.I. 465. And, when Guardant finally made Dr. Eltoukhy available,

   he refused to acknowledge his misconduct, and provided evasive answers to crucial questions,

   citing his selective memory regarding the events of April and May of 2019. See Ex. 38, 781:17-

   801:3; see also GN Netcom, 2016 WL 3792833 at *8 (bad faith shown where executive who

   deleted emails “repeatedly refused to acknowledge his misconduct”). Further, in response to the

   evidence that additional documents were deleted in October 2019, Dr. Eltoukhy was unable to

   confirm whether he deleted additional documents even after he was aware of the dispute caused

   by his deletion of his pre-2014 emails earlier in 2019. Ex. 38, 994:22-997:9; 999:8-1000:18;

   1002:22-1005:3.




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                  2.     Guardant’s Spoliation Greatly and Irrevocably Prejudices FMI

          The second Schmid factor considers the degree of prejudice suffered by the opposing party.

   Schmid, 13 F.3d at 79. “A finding of prejudice requires a party to ‘come forward with plausible,

   concrete suggestions as to what the lost evidence might have been’ and a showing that its loss

   ‘materially affect[ed]’ the substantial rights of the adverse party and is prejudicial to the

   presentation of the case.” GN Netcom, 2016 WL 3792833 at *6. The “question of prejudice turns

   largely on whether a spoliating party destroyed evidence in bad faith.” Id. (quoting Micron Tech.,

   917 F. Supp. 2d at 319). Where, as here, evidence was destroyed in bad faith, “the burden shifts

   to the spoliating party to show lack of prejudice. A bad faith spoliator carries a heavy burden to

   show lack of prejudice because [a] party who is guilty of intentionally [destroying] documents . .

   . should not easily be able to excuse the misconduct by claiming that the vanished documents were

   of minimal import.” Id. (quoting Micron Tech., 917 F. Supp. 2d at 319).

          Guardant cannot meet its heavy burden here because Dr. Eltoukhy specifically targeted and

   destroyed – from the very source most likely to contain relevant information – emails in the time

   period most likely to be relevant to FMI’s inequitable conduct and inventorship counterclaims and

   defenses, namely that Dr. Eltoukhy hid and had motivation to hide his inventive contributions from

   his employer Illumina and the Patent Office. Dr. Eltoukhy’s “scienter [is] at issue in this

   litigation,” an issue to which the deleted documents would have been highly probative. See Liafall,

   Inc. v. Leaning 2000, 2002 WL 31954396 at *4 (D. Del. Dec. 2002); Therasense, Inc. v. Becton,

   Dickinson & Co., 649 F.3d 1276, 1290 (Fed. Cir. 2011) (specific intent to deceive the Patent Office

   is a requirement of inequitable conduct). “[Guardant’s] spoliation precluded [FMI] from possibly

   obtaining evidence of” Dr. Eltoukhy substantially contributing to the conception of the alleged

   inventions of the asserted patents based on his own contributions and, in part, on confidential

   documents misappropriated from Illumina, while he was still employed by Illumina. See Micron


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   Tech., 917 F. Supp. 2d at 323. Indeed, the subject matter of the emails is suggested, in part, by the

   subject matter of other deleted emails that were recovered, which show, for example, Dr.

   Eltoukhy’s stealing of Illumina confidential information and his role in the conception of the

   purported inventions claimed in the asserted patents. See GN Netcom, 2016 WL 3792833 at *9

   (inferring subject matter of lost emails based on subject matter of other deleted emails that were

   recovered). “While the precise degree of prejudice cannot be known” because Guardant destroyed

   the documents, Guardant “should not easily be able to excuse its misconduct by claiming that the

   vanished documents were of minimal import.” Micron Tech., 917 F. Supp. 2d at 324. “[B]ecause

   [FMI] has no means of determining what [the missing evidence] described, the prejudice to [FMI]

   is not insignificant.” Positran Mfg., 2003 WL 21104954 at *4.

          Guardant cannot show that FMI’s ability to access the deleted emails and evidence “cannot

   even ‘plausibly be thought likely to affect the outcome of the trial.’” GN Netcom, 2016 WL

   3792833 at *11 (emphasis in original) (quoting Estate of Spear v. Comm’r, 41 F.3d 103, 115 (3d

   Cir. 1994)). “As [Guardant’s] spoliation precluded [FMI] from possibly obtaining evidence of

   [inequitable] conduct, . . . [Guardant] has not satisfied its heavy burden of showing that its

   destruction of internal documents would not prejudice [FMI’s] defense of inequitable conduct.”

   Micron Tech., 917 F. Supp. 2d at 323. “Again, the fact that no record was made of what documents

   were destroyed can be of no avail to [Guardant], the bad faith actor. As a result, the court [should

   find] . . . that [Guardant’s] spoliation may have prejudiced [FMI’s] inequitable conduct claim[s].”

   Id.

          Although Guardant did recover some of the deleted emails, “this would only eliminate

   prejudice to [FMI] if it resulted in the production of all of [Dr. Eltoukhy’s] responsive deleted

   emails.” GN Netcom, 2016 WL 3792833 at *10. Guardant cannot “assume[] without any evidence




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   that the content” of the recovered emails is fully “representative of the content of all of [Dr.

   Eltoukhy’s] unrecoverable and responsive deleted emails.” Id. Guardant may also contend that

   the subject lines of the bodiless emails suggest they are irrelevant. But the recovered emails

   demonstrate that the content of the emails is often far more relevant than would be suggested by

   the subject line.10 For example, Ex. 8 has the subject line: “Re: Merry Christmas!!” but discusses

   highly relevant subject matter, such as Guardant’s work on                     .

                    3.       The Court Should Declare the Patents Unenforceable and Invalid and
                             Grant FMI Fees and Costs, Punitive Sanctions, and Other Relief

             The third and final Schmid factor considers whether there is a lesser sanction that will avoid

   substantial unfairness to the opposing party and, where the offending party is seriously at fault,

   will serve to deter such conduct by others in the future. Schmid, 13 F.3d at 79.

             Based on Guardant’s willful spoliation of evidence, FMI requests that the Court enter

   judgment declaring the patents-in-suit unenforceable and invalid due to improper inventorship.

   This request is consistent with precedent addressing the intentional deletion of relevant evidence

   and is particularly warranted here, where Guardant’s most senior executive has admitted to

   intentionally destroying volumes of relevant emails – after his deposition – from a critical time

   period in contravention of a litigation hold. See, e.g., Micron Tech., 917 F. Supp. 2d at 323 (“the

   only appropriate sanction is to hold the patents-in-suit unenforceable”); In re Quintis Corp., 2007

   WL 4233665 at *3 (D. Del. Nov. 29, 2007) (entering judgment as sanction for spoliation); In re

   Wechsler, 121 F. Supp. 2d 404, 430 (D. Del. 2000) (entering finding of liability); GE Harris, 2004

   WL 5702740 at *3 (“Evidence warranting a finding of bad faith may support the drastic sanction

   of preclusion of evidence that could result in the entry of judgment against the spoliating party.”).

   In Micron, the court held the patents unenforceable based on bad faith in the thorough document


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        See supra, note 7.


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   destruction and prejudice to the inequitable conduct defense. Micron Tech., 917 F. Supp. 2d at

   322-23, 327-28. In addition, FMI requests monetary sanctions in the form of fees and costs

   incurred by FMI in connection with these disputes, and punitive sanctions in the amount of

   $6,000,000. See GN Netcom, 2016 WL 3792833 at *14 (awarding attorneys’ fees and costs, as

   well as punitive sanctions of $3,000,000); In re Wechsler, 121 F. Supp. 2d at 430 (entering finding

   of liability).

           There is no lesser sanction that will avoid substantial unfairness and deter future conduct

   by others. “Attorney fees or a monetary sanction, when used alone” are “relatively mild sanctions,

   disproportionate to the degree of fault and prejudice” when a party destroys evidence. Micron

   Tech., 917 F. Supp. 2d at 325. “[N]either would compensate [FMI] for the irretrievable loss of

   evidence that may be dispositive to the case.” Id. Moreover, “[a]s primarily a remedial sanction,

   adverse jury instructions are appropriately used in cases where a party’s spoliation was not done

   in bad faith and where the degree of prejudice is low.” Id. at 326. “Where, as here, [Guardant’s]

   spoliation was not only extensive, but there is no record of exactly what documents were destroyed,

   [FMI] would be helpless to rebut anything that [Guardant] might use to try to overcome the adverse

   presumption.” Id. (internal citations omitted). In contrast, a “dispositive sanction ensures that

   [FMI’s] interests are protected, as [FMI] will not find itself in the position of litigating on an unfair

   playing field.” Id. at 327. Further, “a dispositive sanction serves as an effective deterrent to future

   misconduct of this severity, which will in turn advance the ability of the court to decide cases on

   the merits.” Id. at 328. It is well established that “[w]hen the destruction is willful or in bad faith

   and intended to prevent the other side from examining the evidence, the court may impose the

   most severe sanction of them all—the outright dismissal of a claim or the entry of a default

   judgment.”       Positran Mfg., 2003 WL 21104954, at *2.           As confirmed at Dr. Eltoukhy’s




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   supplemental deposition, FMI has no way of knowing what additional relevant information the

   unrecovered, and now unrecoverable, documents contained. See supra at p. 14 (citing Ex. 38,

   907:5-908:13; 909:6-910:21; 925:16-927:11).

          Dr. Eltoukhy is the CEO of a publicly-traded company, a sophisticated patent holder, and

   a serial entrepreneur, who was well aware of the pending litigation that he and Guardant filed and

   the importance of the destroyed documents. See supra at p. 11. Dr. Eltoukhy and Guardant have

   not been forthright in acknowledging their wrongdoing. GN Netcom, 2016 WL 3792833 at *13

   (spoliator created “difficulties” for opposing party in “getting to the bottom of the deletion story”).

   If Guardant is permitted to escape the consequences of Dr. Eltoukhy’s actions, Guardant would

   unfairly receive an enormous windfall that inevitably would encourage such conduct in the future.

   Id. (unpunished spoliators could receive “potential windfall”); Micron Tech., 917 F. Supp. 2d at

   328 (“Any lesser sanction would, in effect, reward [Guardant] for the gamble it took by spoliating

   and tempt others to do the same.”). In such circumstances, “a sanction of adverse jury instructions

   would be ineffective as a remedy, punishment, or deterrent.” Micron Tech., 917 F. Supp. 2d at

   326.   In contrast, “[i]mposing a dispositive sanction for this type of conduct punishes the

   wrongdoer for the severity of its culpable conduct, and serves to put the public on notice that this

   type of behavior will be punished severely. As a result, the ruling should serve to discourage

   similar misconduct in the future.” In re Wechsler, 121 F. Supp. 2d at 429; see also Micron Tech.,

   917 F. Supp. 2d at 327-28.

          For these reasons, there is no lesser sanction that would be appropriate under the Schmid

   factors. However, in the event the Court disagrees, FMI requests that the Court presume the

   deleted information was unfavorable and grant an adverse inference instruction to the jury advising

   the jury of the destruction and directing them to infer that the deleted documents would have shown




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   Dr. Eltoukhy’s inventive contributions and his motivation to hide them. FMI also requests

   monetary sanctions in the form of fees and costs incurred by FMI in connection with these disputes,

   and punitive sanctions in the amount of $6,000,000. See GE Harris, 2004 WL 5702740 at *5

   (finding a severe punishment was warranted, but concluding that adverse inference was

   appropriate because spoliators were forthright in acknowledging wrongdoing and reconstructing

   missing evidence).

          Should the Court not grant a dispositive sanction, FMI should be permitted to present

   expert forensics testimony at trial, to the extent FMI determines that such testimony is necessary.

   GN Netcom, 930 F.3d at 86-88 (reversing decision to exclude expert testimony regarding spoliation

   at trial where adverse instruction was given and explaining that “spoliation-related evidence clears

   the baseline relevance hurdle of Rules 401 and 402”). Withholding such evidence could “deprive[]

   the jury of the ability to make an informed decision about the adverse inference.” Id. at 86.

   Moreover, the risk of any “unfair” prejudice from such testimony is small, particularly since the

   adverse instructions would already “alert[] the jury to the willingness of [a Guardant] executive[]

   to destroy . . . relevant evidence.” Id. at 88. In addition, Guardant should be ordered to produce

   its hold letter and its attorney-client communications regarding Dr. Eltoukhy’s spoliation.

   “[T]here has been a growing trend among courts to find the attorney-client privilege is lost when

   spoliation has occurred.” Magnetar Techs., 886 F. Supp. 2d at 482. Guardant should not be

   permitted to argue its good faith in preserving documents at trial while withholding the very

   communications that would rebut those arguments.

   V.     CONCLUSION

          For the reasons set forth above, FMI seeks the relief requested in the proposed order.




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